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 17
 18                             UNITED STATES DISTRICT COURT
 19               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 20
 21 AERIAL WEST, LLC,                            Case No. 2:18-cv-02288-JAK-SS
 22                           Plaintiff,
                                                 JOINT REPORT REGARDING
 23               v.                             SETTLEMENT EFFORTS
 24 DRONE WORLD, LLC, STEPHEN
    PAUL MCKENNA, and DOES 1-10,
 25 Inclusive,
 26                           Defendant.
 27    AND RELATED COUNTERCLAIM.
 28


      2700-1002 / 1445722.1                  1
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  1              The parties, by counsel, submit this Joint Report Regarding Settlement
  2 Efforts, per the Court’s March 12, 2019 Order (Dkt. 74).
  3              Settlement efforts are active with multiple proposals and counter-proposals
  4 having been exchanged and discussed. The disputed points have been narrowed
  5 considerably, and further discussions are ongoing.
  6              The parties (and counsel) do not believe that another settlement conference with
  7 the Magistrate Judge, or a member of the ADR Panel, is needed or would be
  8 beneficial at this time, and would not be an effective use of the Magistrate Judge’s or
  9 the ADR Panel member’s time.
 10              Should that circumstance change, the parties will at that time ask, either jointly
 11 or singly, the Court for reference to the Magistrate Judge for a second conference.
 12              Unless otherwise ordered by the Court, a follow up Joint Report Regarding
 13 Settlement Efforts will be filed no later June 10, 2019.
 14
 15 Dated: May 13, 2019                           Respectfully submitted,
 16                                               ZUBER LAWLER & DEL DUCA LLP
                                                  ROBERT W. DICKERSON
 17                                               HEMING XU
 18
                                           BY:    /s/ Robert W. Dickerson*
 19                                               Attorneys for Plaintiff and Counter-
                                                  defendant Aerial West, LLC
 20
 21 Dated: May 13, 2019                           ROBERT K. WING, PLC
 22
                                           BY:    /s/ Robert K. Wing
 23                                               Robert K. Wing
                                                  Attorneys for Defendants and Counter-
 24                                               claimants Drone World LLC and Stephen
                                                  Paul McKenna
 25
 26 * Pursuant to Local Rule 5-4.3.4(a)(2)(i), the Filer hereby attests that all other
    signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 27 content and have authorized its filing.
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